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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORDA
                               Case No.: 1:23-cv-20727-RKA

   RYAN BRESLOW, et al.,

         Plaintiffs,

   v.

   MARK PHILLIPS, et al.,

         Defendants.

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   MOVEMENTDAO, et al.,

         Counterclaim-Plaintiffs,

   v.

   RYAN BRESLOW, et al.,

         Counterclaim-Defendants.




      DEFENDANT AND COUNTERCLAIM-PLAINTIFF MARK PHILLIPS AND
  DEFENDANT BENJAMIN REED’S EXPEDITED MOTION FOR CLARIFICATION OF
     THE COURT’S FEBRUARY 28, 2023, TEMPORARY RESTRAINING ORDER
                              [ECF NO. 18]
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         Pursuant to Fed. R. Civ. P. 7(b) and S.D. Fla. L.R. 7.1, Defendants Mark Phillips and

  Benjamin Reed (collectively, “Defendants”) hereby seek further clarification of the Court’s

  February 28, 2023, Order Granting Plaintiffs’ Emergency Ex Parte Application for Temporary

  Restraining Order [ECF No. 18] (the “TRO”), specifically the Court’s order that Defendants

  unwind any transfers that have been made within 30 days of the TRO. As Defendants first

  identified for the Court at the March 28, 2023, hearing on this matter, certain cryptocurrency assets

  have been converted into fiat money, and those transactions cannot be immediately unwound due

  to account limitations. However, Defendants hereby propose returning those assets to the DAO

  Endowment Gnosis via alternative means that could be considered a prohibited transfer under the

  TRO. In the abundance of caution, Defendants seek leave of the Court before making these

  transfers as set forth below.

         Additionally, Defendants and their counsel seek clarification as to payments made to

  counsel within the 30 days preceding the TRO, that the TRO ordered unwound, in the amount of

  $300,000. That payment was received by counsel on February 13, 2023, some fifteen days prior

  to the TRO being issued. Had it not been for that payment, counsel would not have agreed to

  represent Defendants given the complex nature of this dispute. At the March 28, 2023, hearing,

  the Court did not indicate that the payment needed to be returned, but that an accounting be

  provided. Defendants have since provided that accounting, met and conferred with Plaintiffs with

  respect to the format of that accounting, and made changes to the format of the accounting

  following Plaintiffs’ requests.

         Defendants respectfully request that the Court decide the motion on an expedited basis

  pursuant to Local Rule 7.1(d)(2). Defendants understand that the Court has directed Defendants to

  return certain assets held in cash to the DAO Endowment Gnosis, and Defendants are seeking



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  clarification on how to do so to avoid violating the TRO. Accordingly, Defendants seek a ruling

  at the Court’s earliest convenience.

         In support of this Motion, Defendants state as follows:

     I. Defendants Seek Leave of Court for Alternative Means to Return DAO Endowment

         Assets.

         The TRO required Defendants to unwind any transfers that have been made in the last 30

  days from the DAO Endowment’s Gnosis account or any other DAO-affiliated account. ECF No.

  18 at 5. Following receipt of the Court’s TRO, Defendants did unwind cryptocurrency transactions,

  where the assets remained in transferable cryptocurrency form. However, cryptocurrency

  converted into fiat money proved to be more problematic. That is because Defendants utilized

  Robinhood, an online cryptocurrency and brokerage platform, to convert cryptocurrency into fiat.

  Robinhood only permits its users to send cryptocurrency amounts of $5,000 each 24 hours.

  Declaration of Mark Phillips (“Phillips Decl.”) ¶ 2, Ex. 1. With approximately $2,000,000 of

  transfers to be unwound, it would take approximately 400 days’ worth of transfers to unwind the

  transactions at issue. On March 21, 2023, Defendants contacted Robinhood to see if they could

  increase the transfer limit but were unable to do so. Phillips Decl. ¶ 3, Ex. 2. Nonetheless,

  Defendants have started the process of unwinding the transactions in $5,000 increments.

         Instead of a strict unwinding of the transactions at issue, Defendants instead propose that

  they transfer assets subject to the TRO back to the DAO Endowment Gnosis through alternative

  means. Specifically, Defendants understand that they can transfer the assets at issue back to the

  DAO Endowment Gnosis through Coinbase, another cryptocurrency trading platform. Coinbase

  does not have the same send limits that Robinhood does, and Defendants understand that they can

  complete the transactions within 15 business days—subject to Coinbase’s ability to settle



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  transactions in the timely manner they advertise. Additionally, the assets returned through

  Coinbase would be converted to USDC, a stablecoin cryptocurrency similar to the DAI stablecoin

  cryptocurrency sent from the DAO Endowment Gnosis originally. Because this is not a strict

  unwinding of a transaction, and will require the transfer of TRO assets to other accounts and other

  forms before they can be returned to the DAO Endowment Gnosis, Defendants seek leave of the

  Court before undertaking this action in an abundance of caution.

           Defendants have also contacted another cryptocurrency service provider, Galaxy Digital,

  as an additional alternative to return assets to the DAO Endowment Gnosis, but have not yet been

  able to confirm how long Galaxy Digital’s process will take. Defendants do expect Galaxy Digital

  to take longer than Coinbase, but less than 400 days.

     II.      Defendants Seek Clarification Regarding Payments to the Dhillon Law Group

              Inc.

           On February 13, 2023, Defendants made a payment to the Dhillon Law Group Inc.

  (“DLG”) in the amount of $300,000. DLG required a significant deposit as Defendants

  contemplated filing suit against Plaintiffs, and DLG expected this to be a complex litigation. DLG

  would not have agreed to represent Defendants in their dispute with Plaintiffs but for the $300,000

  deposit, and DLG has provided more than $300,000 worth of services during their initial

  investigation of this matter, and over the course of what will be four hearings on Plaintiffs’ pending

  motion for a preliminary injunction.

           Defendants made clear to the Court at the March 28, 2023, hearing that DLG had received

  a payment that could be considered TRO assets. The Court did not then explicitly require DLG to

  return the $300,000 payment, but instead instructed Defendants to provide an accounting:

                  THE COURT: Well, I think that in order to streamline that issue, because
                  I can see already it’s going to be a big issue at the time of the preliminary


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                   injunction hearing, you’re going to want to show him all of these
                   accountings with respect to where that money was spent, whether it’s to the
                   lawyers, whether it's to DAO Labs business expenses, or whatever else so
                   that we can all be on the same page about where that money went.

  March 28, 2023, Hearing Transcript, 28-29:22-3.

            Defendants have complied with the Court’s March 28, 2023, instructions with respect to

  the accounting, have met and conferred with Plaintiffs’ counsel with respect to the format of the

  accounting, and prepared updated accountings to accommodate Plaintiffs’ requests about the

  format. Defendants are in the process of preparing a further accounting to share with Judge Reid,

  following Judge Reid’s instructions at the May 25, 2023, hearing on this matter.

            Should the Court instruct DLG to return the $300,000 in now earned fees, it will certainly

  comply with the Court’s Order. However, it notes that it incurred fees between February 13, 2023,

  and February 28, 2023, and since incurred more than $300,000 in fees and costs in total.

     III.      Certification Under Local Rule 7.1(A)(3)

            Pursuant to Local Rule 7.1(A)(3), I hereby certify that counsel for Defendants conferred

  with counsel for Plaintiffs regarding the relief requested herein. Plaintiffs oppose the relief sought

  by Defendants.

                                                        Respectfully submitted,

                                                          /s/ Nitoj P. Singh

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